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           EXHIBIT G
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Interest Through 10.19.20          MERGHANTS BUILDING MAINTENANCE
                                          SUMMARY REPORT




      AUDIT      PERIOD    CONTRIBUTIONS         * LIQUIDATED CIAIMS         INTEREST              TOTAT
      LltlrT     -sl3uL8   DUE                   DAMAGES PAID                DUE                    DUE



      SAN FRANCISCO                 50,228.69    s   rO,O+S.Z+   5           5 L1,7O8.73 S 71,983.15
      AREA 1GlH                     64,785.I3    s   12,957.03   s           5 14,296.01 S gz,o:a.rz
      AREA 1AlB             5       74,089.66    S   14,817.93   S           S 16,069.84 5 LO4,977.44
      AREA 1ClD             5         2,966.02          s93.20   5           5 1,273.89 5 4,833.1L
      AREA 1ElF                     75.359.99    s   15,072.00   s   61.s1   s 13,391.28 5         103,884.78
      AREA 1M                         1,553.95   S      310.79   5           S agr.:z 5              2,2s6.12
      AREA 28                         2,O91.2O   s      413.24   S           5       426.77    S     2,936.15



      SUBTOTAL DUE          5      27t,O74.65    5 sq,aq.% S 61.s1 s               57,557.83   s   382,908.92



      AUDIT FEE                                                                                      8,24r.00




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